Case 2:15-cv-05346-CJC-E Document 438-61 Filed 10/09/20 Page 1 of 5 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29126




                   Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0850
Case 2:15-cv-05346-CJC-E Document 438-61 Filed 10/09/20 Page 2 of 5 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29127




                                                       Evidence Packet P.0851
Case 2:15-cv-05346-CJC-E Document 438-61 Filed 10/09/20 Page 3 of 5 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29128




                                                       Evidence Packet P.0852
Case 2:15-cv-05346-CJC-E Document 438-61 Filed 10/09/20 Page 4 of 5 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29129




                                                       Evidence Packet P.0853
Case 2:15-cv-05346-CJC-E Document 438-61 Filed 10/09/20 Page 5 of 5 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29130




                                                       Evidence Packet P.0854
